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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


ELISABETH CLEVELAND, AMY                         Court File No. 20-cv-1906-WMW-KMM
LARCHUK, CHRISTOPHER REDMON,
DHAVAL SHAH, and THOMAS
MCCORMICK, on behalf of themselves               NOTICE OF APPEARANCE
and all others similarly situated,

                            Plaintiffs,

v.

WHIRLPOOL CORPORATION,

                            Defendants.


TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:


       PLEASE TAKE NOTICE that, Catherine K. Smith, of Gustafson Gluek PLLC,

hereby enters her appearance as counsel of record for the Plaintiffs, Elisabeth Cleveland,

Amy Larchuk, Christopher Redmon, Dhaval Shah, and Thomas McCormick in the

above-captioned matter.


Dated: June 6, 2022                              Respectfully submitted,

                                                  s/ Catherine K. Smith
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